UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NORTH CAROLINA FILED
ASHEVILLE DIVISION ASHEVILLE, NC
CASE NO. 1:23-CV-00270 :
NOV 12 2024

".. US. DISTRICT COURT
as, W. DISTRICT OF N.C.
MACKENZIE ELAINE BROWN ~~

Plaintiff S \ AL E Dp
v. EXHLBLTS
FROM Doc.

HENDERSON COUNTY SHERIFF'S AX —)
OFFICE, eat al.

Defendants

Pro Se Plaintiff, MACKENZIE ELAINE BROWN, on this day of
NOVEMBER 4, 2024, hereby submits this Sealed Document of the
Exhibits from Doc. 43-2.

Specifically, Exhibits 5 and 8 to Plaintiff's Response in
Opposition to Defendant's Motion to Dismiss Amended Complaint
(Dec. 43}. Exhibit 5 is a state warrant for Plaintiff's arrest
{the “Arrest Warrant,” Doc. 43-2 at 11-13). Exhibit 8 is a Public
Defender’s Fee Application (the “Fee Application,” Doc. 43-2 at
19-20).

On October 28, 2024, United States Magistrate Judge W.

Carleton Metcalf granted Plaintiff's Motion to Seal (Doc. 48), and

Case 1:23-cv-00270-MR-WCM Document52_ Filed 11/12/24 Pagelof2

ordered Doc. 43-2 to be SEALED until further order of the Court
(Doc 51}.

Wherefore, Plaintiff respectfully submits this motion
containing additional copies of the exhibits to Doc. 43. Exhibits
5 and 8 are redacted versions of the Arrest Warrant and Fee
Application from which Plaintiff’s personal information has been

removed.

Respectfully Submitted,

Mackenzie Elaine Brown

158 Haven Rd, East Flat Rock, NC 28726
P: 828-489-5080

BE: mackenzieb0897@gmail.com

DATE: NOVEMBER 4,2024

Case 1:23-cv-00270-MR-WCM Document52_ Filed 11/12/24 Page 2of2

